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                    EXHIBIT 3
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                LEASE ASSIGNMENT AND ASSUMPTION AGREEMENT
                  (2912 S. Fourth Street, Leavenworth, KS Store No. 51007)
                                                              -




                THIS LEASE ASSIGNMENT AND ASSUMPTION AGREEMENT (this
“Agreement”) is made by and among APPLEBEE’S RESTAURANTS KANSAS LLC, a
Kansas limited liability company (“Assignor”), and APPLE CENTRAL KC, LLC, a Kansas
limited liability company (“Assignee”), as of this 23rd day of July, 2015, with an “Effective
Date” as set forth below.

                                      WITNES SETH:

               WHEREAS, Assignor is the tenant under those certain lease agreements
described on Schedule I attached hereto and incorporated by reference herein (cOllectively, as
amended, modified and/or assigned from time to time, the “Lease”) regarding the premises
identified on Schedule I (the “Premises”); and
               WHEREAS, Assignor desires to assign its interest in the Lease to Assignee, and
Assignee desires to accept such assignment and to assume and agree to perform and fulfill all of
the terms, obligations and conditions imposed on Assignor by the Lease, subject to the terms
hereof.
             NOW, THEREFORE, in consideration of the mutual promises hereinafter
contained and for other good and valuable consideration, receipt of which is hereby
acknowledged, the parties agree as follows:
               1.     Assignment and Term. Assignor hereby assigns, transfers and conveys to
Assignee all of Assignor’s rights, title, and interest in and to the Lease and the Premises as of the
Effective Date (defined below), for the balance of the respective term (including any extensions
and renewals thereof) of the Lease, including but not limited to all rights related to options to
purchase and options to terminate, renew or extend the term.

              2.     Possession and Effective Date. Assignee shall take possession of the
Premises and this Agreement shall be and become effective as of July 23, 2015 (the “Effective
Date”).

               3.      Assumption. Assignee hereby accepts said assignment, transfer and
conveyance and assumes all obligations of Assignor under the Lease arising on or after the
Effective Date of this Agreement, including but not limited to payment of all rent and other sums
due by Assignor under the Lease and performance of all obligations, duties and responsibilities
of Assignor under the Lease. Assignee hereby covenants and agrees for the benefit of Assignor
and the landlord under the Lease that Assignee will keep, perform and be bound by all of the
terms, covenants and conditions required to be performed by Assignor under the Lease from and
after the Effective Date. Assignor and Assignee acknowledge and agree to their respective
indemnification obligations set forth in Article VI of that certain Asset Purchase Agreement
between Assignor, Assignee and certain other parties dated April 20, 2015.




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                4.     Notices. Assignee covenants and agrees to notify the landlord that the
tenant’s notice address under the lease shall include a duplicate copy to Assignor unless and until
the Assignor has been released from liability under such Lease. All notices to either party shall
be deemed given when sent by hand delivery, certified mail (return receipt requested), or
overnight delivery service, confirmed, to the appropriate party at the addresses set forth below,
or to such other address as may be designated in writing, from time to time, by the party.

                5.    Governing Law. As to the Lease set forth on Schedule I, this Agreement
shall be governed by and construed in accordance with the laws of the State which is the
applicable governing law pursuant to the terms of such Lease, without giving any effect to choice
of law rules thereof.

                6.       Binding on Successors and Assigns. This Agreement shall be binding
upon, and shall inure to the benefit of, the respective successors and assigns of the parties hereto,
subject to all restrictions contained in the Lease with respect to assignment, subletting or other
transfer.

                7.      Entire Agreement No Amendments. The agreements contained herein
constitute the entire understanding between the parties with respect to the subject matter hereof.
No amendment or modification of this Agreement will be effective unless in writing, executed
by all of the parties hereto.

               8.     Counterparts. This Agreement may be executed in any number of
counterparts, each of which when so executed and delivered shall be deemed to be an original
and all of which counterparts taken together shall constitute but one and the same instrument.




                                  [Signatures on Following Page]




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                IN WITNESS WhEREOF, the parties have executed this Agreement as of the
date first above written, effective as of the Effective Date.


                                      ASSIGNOR:’

Address for Notices to Assignor:     APPLEBEE’S RESTAURANTS KANSAS LLC, a
                                     Kansas limited liability company
450 N. Brand Blvd, 7th
                       Floor
Glendale, California 91203           By: Applebee’s Services, Inc., its authorized agent
Tel: (818) 637-3647
Fax: (818) 637-5362
E-mail:
Nedra.AustinDineEquity.com
Attn: Real Estate Counsel
                                     Title:




                                     ASSIGNEE:

Address for Notices to Assignee:     APPLE CENTRAL KC, LLC

9 Greenwich Office Park, 2 Floor     By: American Franchise Capital III, LLC,
Greenwich, CT 06831                      its Sole Member
Tel:   (203) 992-1717
Fax: (203)661-9462
Email: bgeorgas@afcbrands.com
       tganshawafcbrands.com         By:
Attn: Mr. William J. Georgas and     Name: William J. Georgas
        Mr. Trevor Ganshaw           Title: Manager



                                     By:




                                     Name: Trevor Ganshaw
                                     Title: Manager




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                IN WITNESS WHEREOF, the parties have executed this Agreement as of the
date first above written, effective as of the Effective Date.


                                      ASSIGNOR:

Address for Notices to Assignor:     APPLEBEE’S RESTAURANTS KANSAS LLC, a
                                     Kansas limited liability company
450 N. Brand Blvd, 7th
                       Floor
Glendale, California 91203           By: Applebee’s Services, Inc., its authorized agent
Tel: (818) 637-3647
Fax: (818) 637-5362
E-mail:
Nedra.AustinDineEquity.com           By:______________________________
Attn: Real Estate Counsel            Name: Steven R. Layt
                                     Title: President




                                     ASSIGNEE:

Address for Notices to Assignee:     APPLE CENTRAL KC, LLC

9 Greenwich Office Park, 2’ Floor    By: American Franchise Capital III, LLC,
Greenwich, CT 06831                      its Sole Member
Tel:   (203) 992-1717
Fax: (203)661-9462
Email: bgeorgasafcbrands.com
       tganshawafcbrands.com         By:
Attn: Mr. William J. Georgas and     Name: William J/Georgas
        Mr. Trevor Ganshaw           Title: Manager



                                      By:




                                     Name: Trevor Ganshaw
                                     Title: Manager




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                                       SCHEDULE I

                                    Lease and Premises


Lease:

1.     Ground Lease Agreement dated March 11, 1996 by and between Mr. Phil Brokenicky
and M.B.I., Inc., a Kansas corporation, collectively as Landlord/Lessor and Gourmet Systems of
Kansas, Inc., a Kansas corporation as Tenant/Lessee.

2.    First Lease Modification Agreement dated July 24, 1996 by and between Phil Brokenicky
and M.B.I., Inc., collectively as Landlord and Gourmet Systems of Kansas, Inc. as Tenant.

3.     Memorandum of Lease dated November 5, 1996 by and between Phil Brokenicky, an
individual and M.B.I., Inc., a Kansas corporation, collectively as the Lessor and Gourmet
Systems of Kansas, Inc., a Kansas corporation as Lessee recorded in the Leavenworth County,
Kansas Register of Deeds on April 25, 1997 in Book 733, Page 249.

4.     Assignment and Assumption Agreement dated November 29, 2007 by and between
Gourmet Systems of Kansas, Inc., a Kansas corporation as Assignor and Applebee’s Restaurants
Kansas LLC a Kansas limited liability company as Assignee.

5.     Memorandum of Assignment of Lease (Kansas) dated November 20, 2007 by and
between Gourmet Systems of Kansas, Inc., a Kansas corporation as Assignor and Applebee’s
Restaurants Kansas LLC, a Kansas limited liability company as Assignee, recorded in the
Leavenworth County, Kansas Register of Deeds on May 16, 2008 as Document Number
2008R05003.

6.      Second Modification to Lease and Amendment to Memorandum of Lease dated July 31,
2008 by and between MBI, Inc., a Kansas corporation, Mr. Philip M. Brokenicky, individually
and as Trustee and his successors in Trust under the Philip M. Brokenieky Revocable Trust
Indenture dated February 25, 2004 and Karen G. Brokenicky, as Trustee and her successors in
Trust under the Karen G. Brokenicky Revocable Trust Indenture dated February 25, 2004,
collectively as Landlord and Applebee’s Restaurants Kansas, LLC, a Kansas limited liability
company as Tenant recorded in the Leavenworth County, Kansas Register of Deeds on August 1,
2008 as Document Number 2008R07790.

7.     Letter agreement dated October 18, 2010 by and between MBI, Inc., Philip M.
Brokenicky, individually and as Trustee and his successors in Trust under the Philip M.
Brokenicky Revocable Trust Indenture dated February 25, 2004 and Karen G. Brokenicky, as
Trustee and her successors in Trust under the Karen G. Brokenicky Revocable Trust Indenture
dated February 25, 2004, collectively as Owner and Applebee’s Restaurants Kansas LLC as
Tenant regarding consent to make alterations.




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8.     Notice Letter dated January 27, 2011 from Applebee’s Restaurants Kansas Inc. as Tenant
to Mr. Phil Brokenicky and M.B.I. Inc. as Landlord regarding option to extend lease for an
additional 5 years.


Premises:     2912 S. Fourth Street
              Leavenworth, KS
              Store No. 51007


Legal Description:   See Schedule II attached hereto




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                                    SCHEDULE II

                                   Legal Description



THE LEASEHOLD ESTATE AS CREATED BY A CERTAIN GROUND LEASE
AGREEMENT DATED MARCH 11, 1996, AS AMENDED BY FIRST LEASE
MODIFICATION AGREEMENT DATED JULY 24, 1996 BY AND BETWEEN PHIL
BROKENICKY, AN INDIVIDUAL AND M.B.I., INC., A KANSAS CORPORATION,
LESSOR AND GOURMET SYSTEMS OF KANSAS, [NC, A KANSAS CORPORATION,
LESSEE, AS EVIDENCED BY MEMORANDUM OF LEASE FILED APRIL 25, 1997, IN
BOOK 733, PAGE 249. MEMORANDUM OF ASSIGNMENT OF LEASE BY AND
BETWEEN GOURMET SYSTEMS OF KANSAS, INC., A KANSAS CORPORATION,
ASSIGNOR, AND APPLEBEE’S RESTAURANTS KANSAS LLC, A KANSAS LIMITED
LIABILITY COMPANY, ASSIGNEE, FILED MAY 16, 2008 AT DOCUMENT NO.
2008R05003, AS AMENDED BY SECOND MODIFICATION TO LEASE AND
AMENDMENT TO MEMORANDUM OF LEASE DATED JULY 31, 2008, FILED AUGUST
1,2008 AT DOCUMENT NO. 2008R07790, DEMISING AND LEASING THE FOLLOWING
DESCRIBED                                                    PROPERTY:

LOT 4, “LIMIT STREET PLAZA”. A SUBDIVISION [N THE CITY OF LEAVENWORTH,
LEAVENWORTH COUNTY, KANSAS.




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